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                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


RICHARD V. TAYLOR,

     Plaintiff,                                           Case No. 6:19-cv-02332-PGB-LRH

v.

FIRST FEDERAL CREDIT CONTROL, INC.,

     Defendant.
                                                /



             PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

           I hereby disclose the following pursuant to this Court’s Order and Interested
     Persons And Corporate Disclosure Statement:

     1.)      the name of each person, attorney, association of persons, firm, law firm,
     partnership, and corporation that has or may have an interest in a party in this
     action or in the outcome of this action, including subsidiaries, conglomerates,
     affiliates, parent corporations, publicly- traded companies that own 10% or more
     of party’s stocks, and all identifiable legal entities related to a party.
                            1) Richard V. Taylor, Plaintiff
                            2) First Federal Credit Control, Inc. Defendant
                            3) Alexander J. Taylor and Sulaiman Law Group, Ltd., Attorneys
                               for Plaintiff

     2.)   the name of every other entity whose publicly-traded stock, equity, or debt
     may be substantially affected by the outcome of the proceedings:

                            None

     3.)     the name of every other entity which is likely to be an active participant in
     the proceedings, including the debtor and members of the creditors’ committee (or
     twenty largest unsecured creditors) in bankruptcy cases:
                            None

     4.)      the name of each victim (individual or corporate) of civil and criminal
     conduct alleged to be wrongful, including every person who may be entitled to
     restitution:
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                                              None


        5.)   Checking one of the following:
               X       a. I certify that I am unaware of any actual or potential conflict
        of interest involving the District Judge or Magistrate Judge assigned to this
        case and will immediately notify the Court in writing upon learning of such
        conflict.


              Or
               ______ b. I certify that I am aware of the conflict or basis of recusal
        of the District Judge or Magistrate Judge as follows: (explain).

        Date: December 13, 2019                              /s/ Alexander J. Taylor
                                                             Alexander J. Taylor
                                                             Sulaiman Law Group, Ltd.
                                                             2500 South Highland
                                                             Avenue, Suite 200
                                                             Lombard, IL 60148
                                                             (630) 575-8181




                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion was electronically filed with the Clerk of the
Court using the CM/ECF system on this 13th day of December 2019, which constitutes service on
counsel of record.


                                                             /s/ Alexander J. Taylor
